                             UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE
                                CHATTANOOGA DIVISION


 UNITED STATES OF AMERICA                       )         COLLIER/CARTER
                                                )
        v.                                      )         CASE NO. 1:10-CR-110
                                                )
 ADAM HUNNICUTT                                 )



                               REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. ' 636(b), I conducted a plea hearing in this case on November 29,

 2011. At the hearing, defendant entered a plea of guilty to Counts One and Two of the Indictment.

 There is no plea agreement in this case. On the basis of the record made at the hearing, I find that

 the defendant is fully capable and competent to enter an informed plea; that the plea is made

 knowingly and with full understanding of each of the rights waived by defendant; that it is made

 voluntarily and free from any force, threats, or promises, that the defendant understands the nature

 of the charge and penalties provided by law; and that the plea has a sufficient basis in fact.

        I therefore recommend that defendant's plea of guilty to Counts One and Two of the

 Indictment be accepted, that the Court adjudicate defendant guilty of the charges set forth in

 Counts One and Two of the Indictment. I further recommend that defendant remain in custody

 until sentencing in this matter. Acceptance of the plea, adjudication of guilt, and imposition of

 sentence are specifically reserved for the district judge.

        The defendant=s sentencing date is scheduled for Thursday, March 8, 2012, at 2:00 pm.




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                                                UNITED STATES MAGISTRATE JUDGE




                                       NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing.
 Failure to file objections within fourteen days constitutes a waiver of any further right to challenge
 the plea of guilty in this matter. See 28 U.S.C. '636(b).




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